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 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                             AT TACOMA
 8
      UNITED STATES OF AMERICA,
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                      Plaintiff,
10                                                                  Case No. CR03-343FDB
              v.
11                                                                  ORDER OF RESTITUTION
      ERIK DERI, ET AL.,
12
                      Defendant.
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             Before the Court is Plaintiff’s motion for final determination of restitution. The Court,
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     having reviewed the motion, responses by Defendants, and having heard oral argument of the parties,
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     finds that joint and several liability shall be assessed against Defendants in accordance with the Jury’s
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     special findings of monetary liability. With a view to achieving fairness to the victims and giving
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     effect to the Jury’s findings, the Court finds that joint and several restitution shall be assessed against
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     Defendants at the maximum limits reflected in the Special Verdict of January 11, 2005.
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             ACCORDINGLY,
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             IT IS ORDERED:
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             (1)     The Clerk shall prepare an Amended Judgment in this case reflecting the following
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                     joint and several restitution against Defendants, as follows:
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                     Erik Deri in the amount of $399,999.99;
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26   ORDER - 1
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 1               Yosef Nahum in the amount of $199,999.99; and

 2               Yuval Derei in the amount of $69,999.99.

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          DATED this 2nd day of September, 2005.



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 6                                           FRANKLIN D. BURGESS
                                             UNITED STATES DISTRICT JUDGE
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26   ORDER - 2
